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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

VIRGINIA TORRES,                                    )
                                                    )
                         Plaintiff,                 )      No. 16 C 06665
         v.                                         )
                                                    )      Hon. Virginia M. Kendall
LVNV FUNDING, LLC and NATIONS                       )
RECOVERY CENTER, INC.,                              )
                                                    )
                         Defendants.                )

                                        ORDER

       Defendant LVNV Funding, LLC (“LVNV”) seeks reconsideration of this Court’s

order denying in part Defendant’s Motion for Summary Judgment, (Dkt. No. 78), entered

March 28, 2018. (Dkt. No. 80.) The motion is denied for the following reasons. [80.]

                                      STATEMENT

       At the outset, LVNV does not cite to the Federal Rules of Civil Procedure

regarding what type of relief it seeks in asking for “reconsideration,” but the Court

construes the pleading as one sounding in Rule 59 as a request to alter or amend the

judgment. Such relief requires the existence of a “manifest error of law” demonstrated

not by disappointment of the losing party, but rather proof of “wholesale disregard,

misapplication, or failure to recognize controlling precedent.” Harrington v. City of Chi.,

443 F.3d 542, 546 (7th Cir. 2006); Oto v. Metropolitan Life Ins. Co., 224 F.3d 601, 606

(7th Cir. 2000).




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       Turning to the arguments raised by LVNV, the Court correctly denied summary

judgment in part having established as a matter of law that LVNV violated the prohibited

communications provision of the Fair Debt Collection Practices Act (“FDCPA” or “the

Act”), 15 U.S.C. § 1692c. (Dkt. No. 78, at 15.) In doing so the Court held that LVNV,

as a debt collector, had knowledge of Plaintiff Virginia Torres’ attorney representation

when a sub-agent hired to collect the debt owned by LVNV communicated directly with

the Plaintiff instead of through her counsel as required by the Act. Id. The Court

supported its holding by establishing that no genuine material facts disputed evidence that

LVNV used three prior servicing agents, all who had knowledge that Torres had counsel,

in attempts to collect the debt owned by LVNV. (Dkt. No. 78, at 14.) In a further

attempt to avoid liability for the communication violations, LVNV asserted a bona fide

error defense pursuant to § 1692k(c), but the Court properly disposed of this argument

holding that LVNV wholly failed to show that it maintained procedures reasonably

adapted to avoid any such error. (Dkt. No. 78, at 17.)

       LVNV now argues that the Court misapplied the law with respect to the

knowledge requirement under § 1692c because the FDCPA requires “actual knowledge”

and theories of imputed knowledge or agency liability are insufficient to prove the

knowledge requirement. (Dkt. No. 80, at 2-3.) In support of its “actual knowledge”

claim, LVNV cites to one Seventh Circuit case—Randolph v. IMBS, Inc.—for the

proposition that § 1692c requires actual knowledge. See 368 F.3d 726, 730 (7th Cir.

2004). But LVNV is misguided in its use of Randolph, and the argument fails for the

reason already explained by the Court in its summary judgment opinion. Randolph pays

little attention to § 1692c(a)(2), stating simply that the provision “makes liability depend




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on the actor’s knowledge,” while the remainder of the relevant discussion instead focuses

on the meaning of § 1692e(2)(A)’s strict liability standard as compared to § 362(h) of the

Bankruptcy Code. Randolph, 368 F.3d at 730 (emphasis added). The Randolph Court

then discussed the importance of the bona fide error defense as a primary source of

protection against alleged violations of § 1692e(2)(A). Id. Hence, LVNV improperly

relies on Randolph.

       Next, LVNV does not address this Court’s reliance on Janetos v. Fulton

Friedman & Gullace, LLP, whereby the Seventh Circuit adopted a vicarious liability

theory against a debt collector for the actions of others acting on its behalf. 825 F.3d 317,

325 (7th Cir. 2016). In Janetos, the Seventh Circuit adopted the Third Circuit’s holding

that “[a] debt collector should not be able to avoid liability for unlawful debt collection

practices simply by contracting with another company to do what the law does not allow

it to do itself.” Id.; accord Pollice v. Nat’l Tax Funding, L.P., 225 F.3d 379, 404-06 (3rd

Cir. 2000). “[W]e think it is fair and consistent with the [FDCPA] to require a debt

collector who is independently obligated to comply with the Act to monitor the actions of

those it enlists to collect debts on its behalf.” Id. In a similar fashion, the desired

inability to hide behind one’s agents actions resulting in unlawful practices and a failure

to maintain reasonable procedures designed to avoid any such errors bolster this Court’s

holding that LVNV both had actual knowledge through the acts of its prior servicers, and

why LVNV is not immune from liability on a theory of a bona fide error defense. (Dkt.

78, at 14-15, 17.) The Court’s partial denial of summary judgment does not sniff of any

“manifest errors of law” warranting reconsideration and the Court certainly has not




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abused its discretion. See Caisse Nationale de Credit Agricole v. CBI Indus., Inc., 90

F.3d 1264, 1269-70 (7th Cir. 1996).

       Based on the foregoing, LVNV’s motion to reconsider the Court’s order denying

in part Defendants’ Motion for Summary Judgment, (Dkt. No. 78), is denied. [80.]




                                           ____________________________________
                                           Hon, Virginia M. Kendall
                                           United States District Judge
Date: April 27, 2018




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